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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


CHARLES SUMMERS,

                              Plaintiff,

v.                                                   CIVIL ACTION NO. 2:22-cv-00148

WEST VIRGINIA DEPARTMENT
OF HOMELAND SECURITY, et al.,

                              Defendants.



                                             ORDER


        By prior orders entered in this matter (see Documents 8 & 46), the parties were advised

that they should be prepared to select a jury on the Friday before trial if so ordered by the Court.

For reasons appearing to the Court, it is ORDERED that jury selection will be held on Friday,

January 26, 2024, at 9:00 a.m.

        The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and to

any unrepresented party.

                                              ENTER:         January 11, 2024
